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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7        LAURI VALJAKKA,                                Case No. 22-cv-01490-JST
                                                        Plaintiff,
                                   8
                                                                                           ORDER GRANTING MOTION FOR
                                                  v.                                       PRELIMINARY INJUNCTION
                                   9

                                  10        NETFLIX INC,                                   Re: ECF No. 127
                                                        Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           Before the Court is Defendant, Netflix Inc.’s motion for a preliminary injunction.
                                  14   ECF No. 127. The Court will grant the motion.
                                  15   I.      BACKGROUND
                                  16                   A.     Parties
                                  17           Netflix is a Delaware corporation headquartered in Los Gatos, California. ECF No. 75 at
                                  18   3. Valjakka is the named inventor of United States Patent Nos. 8,495,167 (’167 Patent) and
                                  19   10,726,102 (’102 Patent, and together with the ’167 Patent, “Asserted Patents”). ECF No. 143-1 ¶
                                  20   2. The ’167 Patent “provides improved data communications networks, methods of operating data
                                  21   communications networks, network servers, network terminals and computer programs.” ECF
                                  22   No. 74-1 at 8. The ’102 Patent “relates generally to a method of using digital rights management
                                  23   keys to provide access to access restricted content.” ECF No. 74-1 at 25.
                                  24           In 2021, Valjakka established CDN Licensing Oy (“CDN”), a Finnish entity. ECF No.
                                  25   126-11 at 12. Valjakka owns 70% of CDN and retains control over the company. ECF No. 143-1
                                  26   ¶¶ 3–4. CDN is “at break now” and will “need to [be] restructure[d] because of the bankruptcy.”
                                  27

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                                   1   ECF No. 127-2 at 8.1 Valjakka is also the founder and CEO of IPRA Technologies Oy Ltd.

                                   2   (“IPRA Tech”), a Finnish company that declared bankruptcy in May 2023. Id. at 7.

                                   3                  B.      Procedural History

                                   4          Valjakka originally filed this patent infringement complaint in September 2021 in the

                                   5   Western District of Texas. ECF No. 1. The case was transferred to this Court in March 2022.

                                   6   ECF No. 18. The currently operative third amended complaint was filed in December 2022. ECF

                                   7   No. 74. Netflix answered the complaint, bringing counterclaims and seeking judgment under 35

                                   8   U.S.C. § 285 for attorney’s fees, that same month. ECF No. 75. In March 2023, the parties filed a

                                   9   stipulation selecting mediation. ECF No. 89. While mediation was ongoing, the parties continued

                                  10   to conduct discovery. ECF No. 77.

                                  11                  C.      Valjakka’s Licensing Agreements with CDN

                                  12          On May 12, 2023, Valjakka produced license agreements in the Finnish language
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                                  13   pertaining to the Asserted Patents. ECF No. 126-12 at 13. Netflix received translations of these

                                  14   license agreements on May 30, 2023. Id.

                                  15          The translated agreements revealed that in November 2021, Valjakka granted a license to

                                  16   CDN for the rights in the ’167 patent. ECF No. 143-1 ¶ 5. Thereafter, in December 2021,

                                  17   Valjakka granted a license to CDN for the rights in the ’102 patent. Id. ¶ 6. Both licenses

                                  18   included the right to all litigation and licensing proceeds, including from settlement and final

                                  19   judgments relating to the Asserted Patents (“Enforcement Assets”). Id. ¶¶ 5–6. The ’167 license

                                  20   states that the purpose of the agreement is to “use the sales revenues obtained from the patent to

                                  21   cover the debts of Lauri Valjakka and IPRA Tech.” ECF No. 126-3 at 3. (The ’167 patent license

                                  22   and ’102 patent license to CDN are collectively referred to as “Licenses.”) Although CDN now

                                  23   owns the rights to all Enforcement Assets, Netflix does not know whether Valjakka has transferred

                                  24   any Enforcement Assets to CDN. ECF No. 126-12 at 10.

                                  25                  D.      Motion for Preliminary Injunction

                                  26          On August 21, 2023, Netflix filed the instant motion for preliminary injunction to prevent

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                                       1
                                  28    The quote is from Plaintiff Valjakka’s deposition. It is unclear from the testimony to whose
                                       bankruptcy he is referring.
                                                                                        2
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                                   1   the potential transfer of Enforcement Assets from Valjakka to CDN under the California Uniform

                                   2   Voidable Transactions Act (“CUVTA”). ECF No. 126-12. Netflix asks the Court to enjoin

                                   3   Valjakka, “pending trial, from using, moving, concealing, transferring, or otherwise disposing of

                                   4   any licensing or settlement asset in his possession, custody or control.” ECF No. 127-3.

                                   5   Simultaneously, Netflix filed motions to amend the scheduling order to allow targeted discovery

                                   6   on the CUVTA, and to amend its answer to add an additional counterclaim under the CUVTA.

                                   7   ECF Nos. 128, 129. The Court heard oral argument on September 21, 2023.

                                   8   II.      LEGAL STANDARD

                                   9            Injunctive relief is “an extraordinary remedy that may only be awarded upon a clear

                                  10   showing that the plaintiff is entitled to such relief.” Winter v. Natural Res. Def. Council, Inc., 555

                                  11   U.S. 7, 22 (2008). To obtain injunctive relief, the moving party must show: (1) a likelihood of

                                  12   success on the merits; (2) a likelihood of irreparable harm to the moving party in the absence of
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                                  13   preliminary relief; (3) that the balance of equities tips in favor of the moving party; and (4) that an

                                  14   injunction is in the public interest. Id. at 20. “[S]erious questions going to the merits and a

                                  15   balance of hardships that tips sharply towards the plaintiff can support issuance of a preliminary

                                  16   injunction, so long as the plaintiff also shows that there is a likelihood of irreparable injury and

                                  17   that the injunction is in the public interest.” Alliance for the Wild Rockies v. Cottrell, 632 F.3d

                                  18   1127, 1135 (9th Cir. 2011). Due to the exigent nature of a preliminary injunction, a court may

                                  19   consider hearsay, additional affidavits, and “factual allegations which have been submitted . . . by

                                  20   all parties.” See Johnson v. Couturier, 572 F.3d 1067, 1083 (9th Cir. 2009).

                                  21   III.     DISCUSSION

                                  22            Netflix argues that it is entitled to a preliminary injunction preventing the transfer of

                                  23   Enforcement Assets under the CUVTA. Cal. Civ. Code § 3439.07(a)(3)(A); ECF No. 126-12 at

                                  24   10. Valjakka contests the merits of Netflix’s motions, but also responds that the CUVTA should

                                  25   not apply to the facts before the Court. The Court first addresses Valjakka’s arguments about the

                                  26   applicability of the CUVTA before reaching the merits of Netflix’s motion.

                                  27            A.     The CUVTA Applies to the Alleged Transfers

                                  28            Valjakka argues the Court should not apply the CUVTA for three reasons: (1) that the
                                                                                           3
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                                   1   CUVTA does not apply to transfers from or to himself; (2) that Netflix is not a creditor under the

                                   2   CUVTA; and (3) that transfer of the assets to CDN does not place them out of Netflix’s reach.

                                   3                  1.      The CUVTA Applies to Transfers between Valjakka and CDN

                                   4          Valjakka argues that because transfers would be from and to himself, and not between

                                   5   “two separate and distinct parties,” the CUVTA does not apply. ECF No. 143 at 4. Netflix

                                   6   responds, and the Court agrees, that Valjakka misreads the CUVTA. ECF No. 147 at 8–9.

                                   7          “A fraudulent conveyance under the [CUVTA] involves ‘a transfer by the debtor of

                                   8   property to a third person.’” Opperman v. Path, Inc., 87 F. Supp. 3d 1018, 1065 (N.D. Cal. 2014)

                                   9   (emphasis added). The CUVTA’s definition of a “person” includes a corporation. Cal. Civ. Code

                                  10   § 3439.01(g). At the same time, it is a basic tenet of corporate law that a corporation and its

                                  11   stockholders are generally to be treated as separate entities. Burnet v. Clark, 287 U.S. 410, 415

                                  12   (1932); Abrahim & Sons Enter. v. Equilon Enter., LLC, 292 F.3d 958, 962 (9th Cir. 2002).
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                                  13          Although founded by Valjakka, CDN is a distinct, foreign company. Burnet, 287 U.S. at

                                  14   415; Abrahim & Sons, 292 F.3d at 962. Accordingly, a transaction from Valjakka to CDN is a

                                  15   transfer by the debtor to a third person. Furthermore, Valjakka admits to owning and controlling

                                  16   CDN. ECF No. 143-1 ¶¶ 3–4. Thus, although any transfer would be to CDN, the real owner

                                  17   remains the debtor Valjakka. Lo v. Lee, 24 Cal. App. 5th 1065, 1071 (2018) (holding that under

                                  18   the CUVTA, the third-person transferee “holds only an apparent title [to the transferred property] .

                                  19   . . the real owner being the scheming and shifty judgment debtor”).

                                  20          The Court concludes that the CUVTA applies to transfers between Valjakka and CDN.

                                  21                  2.      Netflix Has a Cognizable Claim for Attorney’s Fees Under the CUVTA

                                  22          Valjakka next argues that Netflix cannot be a “creditor” within the meaning of the CUVTA

                                  23   merely by asserting a 35 U.S.C. § 285 claim for attorney’s fees. ECF No. 143 at 5–6. Netflix

                                  24   responds that its claim for Section 285 attorney’s fees is the kind of “contingent” right to payment

                                  25   envisioned by the CUVTA. ECF No. 126-12 at 14; ECF No. 147 at 13.

                                  26          A creditor is a person who has a claim, meaning “a right to payment, whether or not the

                                  27   right is . . . contingent[.]” Cal. Civ. Code § 3439.01(b)–(c). A “contingent liability” is “a liability

                                  28   that depends on the occurrence of a future and uncertain event.” Liability, Black’s Law Dictionary
                                                                                          4
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                                   1   (11th ed. 2019). Courts have previously recognized claims under the CUVTA for contingent

                                   2   debts. See Virtue Glob. Holdings Ltd. v. Rearden LLC, No. 15-CV-00797-JST, 2016 WL

                                   3   9045855, at *5 (N.D. Cal. June 17, 2016).

                                   4             Accordingly, the Court finds that Netflix’s claim for Section 285 attorney’s fees, is the

                                   5   type of contingent debt covered by the CUVTA.

                                   6                    3.      The Transfer from Valjakka to CDN Would Put Assets Out of Reach

                                   7             A creditor cannot premise a CUVTA claim on a transfer unless “the transfer puts beyond

                                   8   the creditor’s reach property the creditor otherwise would be able to subject to the payment of

                                   9   debt.” Opperman, 87 F. Supp. 3d at 1018 (citing Mehrtash v. Mehrtash, 93 Cal. App. 4th 75, 80

                                  10   (2001) (internal modifications omitted)). For example, assets may be out of reach if they are

                                  11   dissipated before the debt is paid, or if they are held by a foreign entity beyond the Court’s

                                  12   jurisdiction. The Supreme Court makes clear that absent exceptional circumstances, or substantial
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                                  13   and continuous contacts, federal courts do not typically have jurisdiction over foreign

                                  14   corporations. Daimler AG v. Bauman, 571 U.S. 117 (2014) (general jurisdiction); Bristol-Myers

                                  15   Squibb Co. v. Superior Court, 582 U.S. 255 (2017) (specific jurisdiction).

                                  16             Finally, Valjakka argues that “passing assets from one of his hands to the other does not

                                  17   affect [Netflix’s] ability to recover a potential future debt” because “[t]he entity to which Valjakka

                                  18   transferred licensing rights is a part of his assets and thus any theoretical future judgment against

                                  19   Valjakka will necessarily include his ownership of CDN as an asset.” ECF No. 143 at 5. Netflix

                                  20   responds that: (1) there may be no assets to obtain given IPRA Tech’s bankruptcy and CDN’s

                                  21   restructuring, (2) this Court will have no jurisdiction over CDN as a foreign corporation with no

                                  22   U.S. presence, and (3) even if it did have jurisdiction, California’s corporate veil piercing laws

                                  23   may hinder Netflix from reaching those assets via a post judgment motion. ECF No. 147 at 7.2

                                  24             First, the Court agrees with Netflix that given IPRA Tech’s bankruptcy and CDN’s

                                  25   restructuring, if Enforcement Assets are transferred and used to satisfy Finnish creditors, there

                                  26   may not be any assets in CDN’s control that Netflix could reach. Second, the Court agrees with

                                  27

                                  28   2
                                           Because the first two issues are dispositive, the Court does not reach Netflix’s third argument.
                                                                                             5
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                                   1   Netflix that CDN might not be subject to the Court’s jurisdiction, a point Valjakka concedes by

                                   2   not addressing it. The Court therefore concludes that the transfer of Enforcement Assets would

                                   3   put them beyond Netflix’s reach.

                                   4          B.      Netflix Has Met Its Burden to Show that a Preliminary Injunction Should
                                                      Issue
                                   5
                                              Turning to the merits of Netflix’s motion, the Court now addresses the elements Netflix
                                   6
                                       must establish to prevail on its request for a preliminary injunction.
                                   7
                                                      1.      Likelihood of Success on the Merits
                                   8
                                              First, Netflix must establish a likelihood of success on the merits of its fraudulent
                                   9
                                       conveyance claim under the CUVTA. See Winter, 555 U.S. at 20.
                                  10
                                                              a.      The CUVTA Factors
                                  11
                                              “A creditor making a claim for relief . . . has the burden of proving the elements of the
                                  12
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                                       claim for relief by a preponderance of the evidence.” Cal. Civ. Code § 3439.04(c). The CUVTA
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                                  13
                                       enumerates eleven nonexclusive factors—the “badges of fraud”—that indicate actual intent to
                                  14
                                       hinder, delay, or defraud creditors. Virtue Glob. Holdings Ltd., 2016 WL 9045855, at *6. “No
                                  15
                                       minimum number of factors tips the scales toward actual intent.” In re Beverly, 374 B.R. 221, 236
                                  16
                                       (B.A.P. 9th Cir. 2007).
                                  17
                                                    The CUVTA provides:
                                  18
                                                    (a) A transfer made or obligation incurred by a debtor is fraudulent as
                                  19                to a creditor, whether the creditor’s claim arose before or after the
                                                    transfer was made or the obligation was incurred, if the debtor made
                                  20                the transfer or incurred the obligation as follows:
                                  21                       (1) With actual intent to hinder, delay, or defraud any creditor of
                                                           the debtor.
                                  22                                             ...
                                  23                (b) In determining actual intent under paragraph (1) of subdivision (a),
                                                    consideration may be given, among other factors, to any or all of the
                                  24                following:
                                  25                       (1) Whether the transfer or obligation was to an insider.
                                  26                       (2) Whether the debtor retained possession or control of the
                                                           property transferred after the transfer.
                                  27
                                                           (3) Whether the transfer or obligation was disclosed or
                                  28                       concealed.
                                                                                          6
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                                   1                      (4) Whether before the transfer was made or obligation was
                                                          incurred, the debtor had been sued or threatened with suit.
                                   2
                                                          (5) Whether the transfer was of substantially all the debtor’s
                                   3                      assets.
                                   4                      (6) Whether the debtor absconded.
                                   5                      (7) Whether the debtor removed or concealed assets.
                                   6                      (8) Whether the value of the consideration received by the
                                                          debtor was reasonably equivalent to the value of the asset
                                   7                      transferred or the amount of the obligation incurred.
                                   8                      (9) Whether the debtor was insolvent or became insolvent
                                                          shortly after the transfer was made or the obligation was
                                   9                      incurred.
                                  10                      (10) Whether the transfer occurred shortly before or shortly after
                                                          a substantial debt was incurred.
                                  11
                                                          (11) Whether the debtor transferred the essential assets of the
                                  12                      business to a lienholder who transferred the assets to an insider
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                                                          of the debtor.
                                  13
                                       Cal. Civ. Code § 3439.04. Netflix contends that several “badges of fraud” demonstrate Valjakka’s
                                  14
                                       fraudulent intent. ECF No. 126-12 at 16.
                                  15
                                              First, Netflix asserts that the first badge is established because “the transfer or obligation
                                  16
                                       was to an insider.” ECF No. 147 at 8; Cal. Civ. Code § 3439.04(b)(1). The parties agree that
                                  17
                                       CDN is owned and controlled by Valjakka. ECF No. 143-1 ¶¶ 3–4. Valjakka responds that
                                  18
                                       transactions to or from himself are not the kind of “insider” transactions envisioned by the
                                  19
                                       CUVTA—and CDN is “himself” because it is wholly owned by him. ECF No. 143 at 4.
                                  20
                                              Because the CUVTA does not define the term “insider,” the Court turns to the Bankruptcy
                                  21
                                       Code. Courts in this circuit have found that the “California fraudulent conveyance law and the
                                  22
                                       fraudulent transfer section of the Bankruptcy Code are similar in form and substance, and [] may
                                  23
                                       be analyzed contemporaneously.” In re United Energy Corp., 944 F.2d 589, 594 (9th Cir. 1991);
                                  24
                                       In re 3DFX Interactive, Inc., 389 B.R. 842, 862 n.15 (Bankr. N.D. Cal. 2008) (citing 11 U.S.C.A.
                                  25
                                       § 548; Cal. Civ. Code § 3439), aff’d, 585 F. App’x 626 (9th Cir. 2014); see also Falkenstein v.
                                  26
                                       Shipco Transp., Inc., No. CV 13-08052 BRO, 2015 WL 11256774, at *15 (C.D. Cal. Oct. 15,
                                  27
                                       2015). When the debtor is an individual, the Bankruptcy Code defines an “insider” as a
                                  28
                                                                                         7
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                                   1   “corporation of which the debtor is a director, officer, or person in control.” 11 U.S.C.A. § 101.

                                   2   Because Valjakka controls CDN, that entity is an insider, and the transfer of the Licenses between

                                   3   Valjakka and CDN constituted an insider transaction.

                                   4           Second, the parties agree that Valjakka retains control over CDN. ECF No. 139 at 16;

                                   5   ECF No. 143-1 ¶ 4. Accordingly, the Court finds that the second badge of fraud is present

                                   6   because “the debtor retain[s] . . . control of the property transferred after the transfer.” Id.; Cal.

                                   7   Civ. Code § 3439.04(b)(2).

                                   8           Third, the Court finds that Valjakka concealed the transfer of his assets. Cal. Civ. Code

                                   9   § 3439.04(b)(3). Netflix contends that Valjakka’s discovery and settlement conduct demonstrates

                                  10   his attempts to conceal the transfers to CDN via the Licenses. Netflix asserts that Valjakka did not

                                  11   disclose that CDN was granted nearly every right in the Asserted Patents in his interrogatory

                                  12   responses. ECF No. 147 at 6. Netflix also contends that Valjakka’s settlement agreements made
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                                  13   no mention of CDN owning the rights to Enforcement Assets—instead representing that Valjakka

                                  14   “has the right to grant the patent license” and that “no other party . . . has the right to enforce any

                                  15   of the patents covered by the patent license.” ECF Nos. 126-5, 126-8, 126-9, 126-10. Valjakka

                                  16   responds that he disclosed CDN in response to Netflix’s first round of interrogatories. ECF No.

                                  17   143 at 9. Valjakka does not respond to the alleged misrepresentation in the settlement agreements.

                                  18   Instead, he argues only that Netflix “has been informed of Valjakka’s right to recover on the ’167

                                  19   and ’102 patents” and about the “specific amounts of prior recovery.” ECF No. 143 at 7.

                                  20           Although the Court agrees that Valjakka disclosed the existence of CDN in his responses

                                  21   to Netflix’s interrogatories, the Court finds that Valjakka concealed the actual transfer of rights to

                                  22   Enforcement Assets through the Licenses during discovery and in his settlement agreements. For

                                  23   example, when asked in Interrogatory No. 8 to identify every entity with financial, ownership, or

                                  24   other interest in the Asserted Patents, Valjakka’s response does not mention the Licenses or CDN

                                  25   or IPRA Tech. ECF No. 126-11 at 7–9. Similarly, in the settlement agreements he produced,

                                  26   despite the fact that the Licenses incontrovertibly state that “[t]he license is exclusive, i.e., only the

                                  27   Licensee can utilize the rights imputable to it, and the Licensor cannot grant parallel licenses based

                                  28   on the same patent to third parties,” Valjakka asserted that he (and not CDN) had the right to grant
                                                                                           8
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                                   1   the patent license. ECF Nos. 126-5, 126-8, 126-9, 126-10. These facts also support a finding of

                                   2   the seventh badge of fraud, which is that Valjakka removed or concealed his assets. Cal. Civ.

                                   3   Code § 3439.04(b)(7).

                                   4           Next, Netflix contends that the transfer was made after the debtor had been sued or

                                   5   threatened with suit because Valjakka’s attorney may have informed him about the risk of

                                   6   attorney’s fees after he commenced the lawsuit. ECF No. 126-12 at 20–21. Valjakka represents

                                   7   that the Licenses to CDN were granted in November and December 2021, more than a year before

                                   8   Netflix’s claim for attorney’s fees was first filed on December 23, 2022. ECF No. 143 at 8. The

                                   9   evidence does not support a finding that the transfer was made after the debtor had been sued or

                                  10   threatened with suit. Cal. Civ. Code § 3439.04(b)(4).

                                  11          With regard to whether “the value of the consideration received by the debtor was

                                  12   reasonably equivalent to the value of the asset transferred or the amount of the obligation
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                                  13   incurred,” Valjakka argues that “the value of infringement suits asserting the ’167 and ’102

                                  14   patents were untested.” ECF No. 143 at 7. Valjakka also asserts that he received fair market

                                  15   value for the patent licenses. ECF No. 143-1 ¶ 8. Valjakka’s own expert, however, states that

                                  16   Valjakka’s Licenses with CDN were not at “arms-length” and that the value of the Asserted

                                  17   Patents is higher than the amount paid for the Licenses. ECF No. 167-1 at 2–3. Moreover,

                                  18   Valjakka’s deposition testimony and the Licenses indicate that CDN paid €50,000 as consideration

                                  19   for the ’102 Patent, and €95,000 for the ’167 Patent, ECF No. 126-3 at 4; ECF No. 126-6 at 3, but

                                  20   the cumulative value of the settlement agreements related to these patents reached to date exceeds

                                  21   $1,000,000.00, ECF Nos. 126-5, 126-8, 126-9, 126-10.3 The Court therefore finds that the

                                  22   consideration for the Licenses was not reasonably equivalent to the value of the transferred assets.

                                  23   Cal. Civ. Code § 3439.04(b)(8).

                                  24          Finally, Netflix contends that additional limited discovery pertaining to the CUVTA is

                                  25   likely to demonstrate the presence of other badges of fraud—including whether the transfer was of

                                  26
                                  27   3
                                        The Court takes judicial notice that, as of September 15, 2023, $1,000,000 was worth
                                  28   approximately €1,067,300. See Board of Governors of the Federal Reserve System, Foreign
                                       Exchange Rates – H.10, https://perma.cc/BA4X-TKUZ (last visited Sep. 20, 2023).
                                                                                         9
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                                   1   substantially all the debtor’s assets (badge five) and whether Valjakka himself may be insolvent

                                   2   (badge twelve). ECF No. 126-12 at 20–21; Cal. Civ. Code §§ 3439.04(b)(5), (b)(12). The Court

                                   3   agrees, and in a separate order grants Netflix’s request for limited additional discovery.

                                   4          In the aggregate, these several badges of fraud constitute substantial evidence of

                                   5   Valjakka’s intent to defraud. See In re Acequia, Inc., 34 F.3d 800, 806 (9th Cir. 1994).

                                   6                          b.      Valjakka Does Not Establish a Supervening Legitimate Purpose
                                   7          Once indicia of fraud are established, the burden shifts to the transferee to demonstrate

                                   8   “significantly clear” evidence of a “legitimate supervening purpose” for the transfers at issue. Id.

                                   9   Valjakka claims that CDN was created to “easily divide [his] financial interest in the ’167 and

                                  10   ’102 patents with other investors, to obtain financing for this litigation and others, and to more

                                  11   easily administer the financing and proceeds from this litigation and others.” ECF No. 143-1 ¶ 10.

                                  12   As Netflix correctly notes, however, Valjakka neither explains, nor provides supporting evidence
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                                  13   showing, how the creation of CDN allows Valjakka to accomplish these goals. ECF No. 147 at

                                  14   13. And some of the evidence before the Court specifically contradicts Valjakka’s assertions. For

                                  15   example, the ’167 License states that at least part of the purpose of the License is to “cover the

                                  16   debts of . . . IPRA Tech.” ECF No. 126-3 at 3. Particularly on this record, Valjakka’s

                                  17   unsupported assertions do not meet his burden to provide “‘significantly clear’ evidence of a

                                  18   legitimate supervening purpose.” In re Acequia, 34 F.3d at 806 (9th Cir. 1994) (quoting Max

                                  19   Sugarman Funeral Home, Inc. v. A.D.B. Invs., 926 F.2d 1248, 1254–55 (1st Cir. 1991)).

                                  20          Accordingly, the Court finds that Netflix has shown a likelihood of success on the merits

                                  21   of its fraudulent conveyance claim.

                                  22                  2.      Likelihood of Irreparable Harm

                                  23          To obtain preliminary relief, plaintiff must “demonstrate that irreparable injury is likely in

                                  24   the absence of an injunction.” Winter, 555 U.S. at 22 (emphasis omitted). “Typically, monetary

                                  25   harm does not constitute irreparable harm.” Total Real Est. Grp., LLC v. Strode, 588 F. Supp. 3d

                                  26   1137, 1156 (D. Or. 2022) (citation and quotation omitted). “A party seeking an asset freeze must

                                  27   show a likelihood of dissipation of the claimed assets, or other inability to recover monetary

                                  28   damages, if relief is not granted.” Johnson, 572 F.3d at 1085. In Johnson, the Ninth Circuit found
                                                                                         10
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                                   1   that the defendant director had diverted millions of dollars from the company into his personal

                                   2   bank account, and that his “prior conduct establishe[d] a likelihood that in the absence of an asset

                                   3   freeze . . . [p]laintiffs will not be able to recover the improperly diverted funds and will thus be

                                   4   irreparably harmed.” Id.

                                   5          Netflix identifies three facts that weigh in favor of finding a danger that Valjakka will

                                   6   dissipate his assets such that Netflix will not be able to recover any judgment it might obtain

                                   7   against him: first, Valjakka’s prior conduct in failing to respond truthfully to discovery requests

                                   8   and concealing assets; second, Valjakka’s transfer of key assets while simultaneously retaining the

                                   9   contingent obligation to pay attorney’s fees; and finally, the potential transfer of Enforcement

                                  10   Assets to entities that have already faced or may soon be facing bankruptcy. ECF No. 147, 6–7.

                                  11   Valjakka responds that Netflix was made aware of the existence of CDN as early as July 2022

                                  12   when he responded to Netflix’s interrogatories. ECF No. 143 at 9. Implicitly, he also suggests
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                                  13   that Netflix’s delay in filing for a preliminary injunction undermines its arguments regarding

                                  14   irreparable harm. Id. Netflix responds that it has been demanding complete and accurate

                                  15   discovery responses for over two years, and that the licensing information was only revealed—in

                                  16   Finnish—in May 2023, and then confirmed through deposition testimony in June 2023. ECF No.

                                  17   126-12 at 13.

                                  18          The Court agrees with Netflix. Valjakka’s conduct in licensing the Asserted Patents,

                                  19   transferring rights to Enforcement Assets to CDN, and refusing to disclose asset information and

                                  20   ownership with regards to CDN, Johnson, 572 F.3d at 1085, combined with the bankruptcy of

                                  21   IPRA Tech and the impending restructuring of CDN, lead the Court to conclude that Netflix has

                                  22   shown a substantial likelihood of dissipation of the Enforcement Assets.

                                  23                   3.     Balance of Equities

                                  24          In considering the equities of a preliminary injunction, courts “must balance the competing

                                  25   claims of injury and must consider the effect on each party of the granting or withholding of the

                                  26   requested relief.” Winter, 555 U.S. at 24. Netflix argues that equity tips in its favor because its

                                  27   claim for attorney’s fees could be “forever extinguished,” especially considering IPRA Tech’s

                                  28   bankruptcy and CDN’s restructuring. ECF No. 126-12 at 10, 14, 20. Valjakka neither contests the
                                                                                         11
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                                   1   potential harm to Netflix nor identifies any harm that he or CDN will suffer if the Court prevents

                                   2   the transfer of Enforcement Assets.

                                   3           Balancing the equities, the Court finds that the potential harm to Netflix from dissipation

                                   4   of the Enforcement Assets is greater than the potential harm to Valjakka from the issuance of an

                                   5   injunction.

                                   6                   4.      Public Interest

                                   7           When the reach of an injunction is limited only to the parties, the public interest will be “at

                                   8   most a neutral factor in the analysis rather than one that favor[s] [granting or] denying the

                                   9   preliminary injunction.” Bernhardt v. L.A. County, 339 F.3d 920, 931 (9th Cir. 2003). This factor

                                  10   is therefore neutral.

                                  11           C.      No Bond Is Required
                                  12           “The court may issue a preliminary injunction or a temporary restraining order only if the
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                                  13   movant gives security in an amount that the court considers proper to pay the costs and damages

                                  14   sustained by any party found to have been wrongfully enjoined or restrained.” Fed. R. Civ. P.

                                  15   65(c). Notwithstanding the seemingly mandatory language, “the district court may dispense with

                                  16   the filing of a bond when it concludes there is no realistic likelihood of harm to the defendant from

                                  17   enjoining his or her conduct.” Johnson, 572 F.3d at 1086.

                                  18           Because Valjakka has not presented evidence that he will suffer harm if improperly

                                  19   enjoined, no bond is necessary. Abdou v. DaVita Inc., No. 216CV02597APGCWH, 2017 WL

                                  20   7036659, at *3 (D. Nev. Nov. 17, 2017), aff’d, 734 F. App’x 506 (9th Cir. 2018), and aff’d, 734 F.

                                  21   App’x 506 (9th Cir. 2018).

                                  22                                              CONCLUSION

                                  23           The Court grants Netflix’s motion for a preliminary injunction as follows:

                                  24           1.      This preliminary injunction applies to the Enforcement Assets identified in

                                  25   Netflix’s motion for preliminary injunction, ECF No. 126-12, which consist of damages, litigation,

                                  26   or licensing revenues related to the Asserted Patents.

                                  27           2.      Valjakka is hereby restrained and enjoined, pending trial, from selling, using,

                                  28   moving, concealing, transferring, or otherwise disposing of any Enforcement Asset in his
                                                                                         12
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                                   1   possession, custody, or control.

                                   2          3.      Within 10 days of entry of this Order, Valjakka is ordered to transmit a copy of this

                                   3   preliminary injunction to his licensees, and to any entity that has an interest in Enforcement Assets

                                   4   including, but not limited to, CDN and IPRA Tech.

                                   5          4.      No bond shall be required.

                                   6          IT IS SO ORDERED.

                                   7   Dated: October 18, 2023
                                                                                       ______________________________________
                                   8
                                                                                                     JON S. TIGAR
                                   9                                                           United States District Judge

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